             Case 2:22-cr-20171-SFC-EAS ECF AUSA:
                                            No. 1, PageID.1
                                                    Matthew RothFiled 03/21/22   Page 1(313)
                                                                             Telephone:  of 8226-9186
AO 91 (Rev. ) Criminal Complaint             Special Agent:         Brett J. Brandon (ATF)        Telephone: (313) 202-3400

                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                 Eastern District of Michigan

United States of America
   v.
                                                                                   Case: 2:22-mj-30145
DONOVAN ADAIR METOYER                                                     Case No. Judge: Unassigned,
                                                                                    Filed: 03-21-2022 At 04:53 PM
                                                                                   USA v. SEALED MATTER (CMP)(MLW)




                                                    CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

          On or about the date(s) of      February 22, 2022 - February 28, 2022    in the county of            Oakland           in the
        Eastern          District of       Michigan        , the defendant(s) violated:
                  Code Section                                            Offense Description
18 U.S.C. § 922(g)(3)                                   Possession of a firearm by an unlawful user of controlled substances




          This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT




✔ Continued on the attached sheet.

                                                                                           Complainant’s signature

                                                                                  Special Agent Brett J. Brandon, ATF
                                                                                            Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date:   March 21, 2022                                                                        Judge’s signature

City and state: Detroit, Michigan                                                 Hon. Anthony P. Patti, U.S. Magistrate Judge
                                                                                            Printed name and title
  Case 2:22-cr-20171-SFC-EAS ECF No. 1, PageID.2 Filed 03/21/22 Page 2 of 8




           AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

      I, Brett J. Brandon, being first duly sworn, hereby state:

                                 INTRODUCTION

      1.     I have been a Special Agent with the Bureau of Alcohol, Tobacco,

Firearms, and Explosives, assigned to the Detroit Field Division since July 2013. I

graduated from the Criminal Investigator Training Program and the ATF Special

Agent Basic Training Program at the Federal Law Enforcement Training Center in

Glynco, Georgia. During my employment with ATF, I have conducted and

participated in numerous criminal investigations involving the illegal possession,

use, and sale of firearms, drug trafficking violations, and criminal street gangs.

      2.     I make this affidavit from personal knowledge based on my

participation in this investigation, including interviews conducted by myself and/or

other law enforcement agents, communications with others who have personal

knowledge of the events and circumstances described herein, and information

gained through my training and experience.

      3.     The ATF is currently conducting a criminal investigation concerning

DONOVAN ADAIR METOYER (DOB: XX/XX/2003). This affidavit does not

include all the information known to law enforcement related to this investigation.

      4.     This affidavit includes sufficient evidence to establish probable cause

that METOYER, an unlawful user of controlled substances, namely marijuana,
  Case 2:22-cr-20171-SFC-EAS ECF No. 1, PageID.3 Filed 03/21/22 Page 3 of 8




Oxycodone, and Alprazolam, knowingly and intentionally possessed a firearm, in

violation of 18 U.S.C. § 922(g)(3).

                   SUMMARY OF THE INVESTIGATION

      5.    Based on an ongoing and joint investigation between the Oakland

County Sheriff’s Office and the ATF, I know that METOYER claims affiliation on

Instagram with a gang connected to the “4 Block” gang, a known rival of the “R

Block” gang. Violence between 4 Block and R Block has resulted in over 40

shootings since July of 2021. Many of the shootings involved gang members

shooting occupied homes of rival gang members. On several occasions, children,

parents, and grandparents have been home or shot during these episodes. On or

about November 2021 in Pontiac, Michigan, METOYER and his mother were

shot. The firearm used in the shooting was recovered from “R Block” gang

members.

      6.    On March 20, 2022, I participated in a video-recorded post-Miranda

interview of METOYER, who is currently in custody at the Oakland County Jail.

METOYER made the following statements.

            a.     He smokes several grams of marijuana every day;

            b.     He takes “Percs” (Percocet – a brand name for Oxycodone /

                   Paracetamol) and “Xanax” (a brand name for Alprazolam)

                   multiple times per week and has done so since July 2021;

                                       -2-
Case 2:22-cr-20171-SFC-EAS ECF No. 1, PageID.4 Filed 03/21/22 Page 4 of 8




         c.    He is aware he is taking “Percs” and “Xanax” because he is

               familiar with the markings on the pills and gets “high” when he

               takes them;

         d.    He does not have a prescription for “Percs” or “Xanax” and

               buys them on the street;

         e.    He and his mother were recently shot;

         f.    I showed `METOYER Image One, below, posted to

               METOYER’s Instagram “story” on or about March 3, 2022:

               i.     METOYER identified the firearm in his waistband as a

                      “Glock 43” (Glock 43 9mm pistol), which he obtained in

                      the fall of 2021;

               ii.    He confirmed the Glock 43 was a real firearm; and

               iii.   He stated the picture was taken in the winter of 2022 near

                      the apartment of R Block gang member Christian

                      Adams’s (aka “Cash”) apartment.

               I am aware, based on fixed video surveillance, that the image

               was taken between approximately February 22 and 28, 2022, in

               front of an apartment associated with Adams (a member of R

               Block) located in Pontiac, Michigan. I further noted the firearm




                                     -3-
Case 2:22-cr-20171-SFC-EAS ECF No. 1, PageID.5 Filed 03/21/22 Page 5 of 8




               in METOYER’s waistband was loaded with a clear extended

               magazine with ammunition visible.

                               Image One




         g.    I showed METOYER a video uploaded to METOYER’s

               Instagram “Story” on or about February 28, 2022 (see Image

               Two below, screen shot of aforementioned video):




                                   -4-
Case 2:22-cr-20171-SFC-EAS ECF No. 1, PageID.6 Filed 03/21/22 Page 6 of 8




         h.    METOYER stated he possessed the same above-referenced

               Glock 43 inside of a vehicle while in Oakland County,

               Michigan; and

                               Image Two




         i.    He indicated he was “probably” high in Images One and Two

               above when he possessed the Glock 43.




                                   -5-
  Case 2:22-cr-20171-SFC-EAS ECF No. 1, PageID.7 Filed 03/21/22 Page 7 of 8




      7.     Based on training and experience investigating the criminal

possession and use of controlled substances that marijuana, Oxycodone, and

Alprazolam are controlled substances pursuant to the Controlled Substances Act.

      8.     METOYER is currently eighteen years old. I am also aware it is

unlawful under Michigan law for anyone under twenty-one years of age to

purchase or use marijuana.

      9.     The term “unlawful user of a controlled substance” contemplates the

regular and repeated use of a controlled substance in a manner other than as

prescribed by a licensed physician. The defendant must have been engaged in use

that was sufficiently consistent and prolonged as to constitute a pattern of regular

and repeated use of a controlled substance. (Sixth Circuit Pattern Jury Instructions,

12.01 (Committee Commentary)). Based on his own admission, METOYER

engaged in a pattern of regular and repeated use of controlled substances during a

period that reasonably covers the time the firearm was possessed.

      10.    On March 20, 2022, I contacted ATF Interstate Nexus Expert, Special

Agent Michael Jacobs, and provided a verbal description of the Glock 43 9mm

pistol. Based upon the verbal description, Special Agent Jacobs advised that the

Glock 43 .40 caliber pistol was a firearm as defined under 18 U.S.C. § 921 and

manufactured outside of the state of Michigan after 1898, and therefore had

traveled in and affected interstate commerce.

                                         -6-
  Case 2:22-cr-20171-SFC-EAS ECF No. 1, PageID.8 Filed 03/21/22 Page 8 of 8




                                 CONCLUSION

      11.   Probable cause exists that DONOVAN ADAIR METOYER, an

unlawful user of controlled substances, namely marijuana, Oxycodone, and

Alprazolam, did knowingly and intentionally possess a Glock 43 9mm pistol, a

firearm having affected interstate commerce, in violation of 18 U.S.C. § 922(g)(3).

                                          Respectfully submitted,


                                          Brett J. Brandon
                                          ATF Special Agent


Sworn to before me and signed in my presence
and/or by reliable electronic means.


_________________________________________
Hon. Anthony P. Patti
United States Magistrate Judge


Dated:   March 21, 2022




                                        -7-
